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                       BEFORE THE UNITED STATES JUDICIAL PANEL
                            ON MULTIDISTRICT LITIGATION



IN RE: ORAL PHENYLEPHRINE                                MDL NO. 3089
MARKETING AND SALES PRACTICES
LITIGATION




                                        PROOF OF SERVICE

            In compliance with J.P.M.L. R. 4.1(a), I hereby certify that on October 11, 2023 a copy

of the foregoing Interested Party Response of Plaintiff Yousefzadeh, Schedule of Actions, and

Proof of Service were electronically filed using the CM/ECF system, which constitutes service

on registered CM/ECF participants via this Panel’s ECF filing system. The aforementioned

documents were also served on October 11, 2023 through the U.S. Postal Service as indicated

below, to the following:


Johnson & Johnson Consumer Inc., Defendant in Yousefzadeh v. Johnson & Johnson
Consumer Inc., E.D. New York, No. 2:23-cv-06825:

Via Certified Mail
c/o C T Corporation System
820 Bear Tavern Road
West Trenton, NJ 08628

October 11, 2023                         By: /s/ Jason L. Lichtman

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